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            IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                    NORTHERN DIVISION


OSCAR STILLEY                                                      PLAINTIFF

v.                                               CIVIL NO. 3:19cv6‐HTW‐LRA

WARDEN RIVERS, ET AL.                                         DEFENDANTS




                REPLY IN SUPPORT OF DEFENDANT’S
                       MOTION TO DISMISS




     Defendant United States of America (“the government”) submits this

reply in support of its Motion to Dismiss. See Dkt. No. 25.

                               I. DISCUSSION

     Relevant here, Plaintiff Oscar Stilley (“Stilley” or “Plaintiff”) filed

Federal Tort Claims Act (“FTCA”) claims against the government for its

alleged negligence. See Dkt. No. 1. Stilley never filed an administrative

tort claim based on the negligence alleged in his complaint. See Dkt.

No. 25‐1 (Declaration of Joshua Robles). Therefore, the government moved

to dismiss Stilley’s FTCA claims for failure to exhaust such claims
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administratively, as is required before the government waives its sovereign

immunity and before this Court obtains subject‐matter jurisdiction over

Stilley’s claims. See Dkt. No. 26 (discussing non‐exhaustion argument).

      Stilley responded to the government’s motion. See Dkt. Nos. 31; 32.

After stripping away the unfounded conspiracy theories and unsupported

accusations, Stilley’s response centers on whether he filed this lawsuit

within six months of receiving a right‐to‐sue letter. See, e.g., Dkt. No. 31

¶¶ 15‐16; Dkt. No. 32, at 1‐3. This assertion is irrelevant.

      The government’s motion to dismiss is not based upon the timeliness

or untimeliness of Stilley’s complaint. See generally Dkt. No. 26. The

government’s motion is based on this Court’s lack of subject‐matter

jurisdiction over the FTCA claims because Stilley never exhausted such

claims administratively. See Dkt. No. 26, at 5‐7 (discussing non‐exhaustion

argument).




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       As the plaintiff, Stilley has the burden to show administrative

exhaustion1 and subject‐matter jurisdiction.2 He has not met either burden.

Because Stilley failed to file and exhaust his administrative claims, the

government retains its sovereign immunity. Consequently, Plaintiff’s

claims against the government (i.e., the United States of America) must be

dismissed for lack of subject‐matter jurisdiction. See Fed. R. Civ. P. 12(b)(1).

                                   II. CONCLUSION

       For the reasons stated in its Motion to Dismiss and supporting

Memorandum Brief, this Court must dismiss Plaintiff’s FTCA claims

against the United States of America for lack of subject‐matter jurisdiction.




       1 See also Lewis v. U.S. Dep’t of Hous. & Urban Dev., No. 3:12‐CV‐2540‐D, 2013 WL
2367786, at *2 (N.D. Tex. May 30, 2013) (“Because exhaustion is a jurisdictional
prerequisite to bringing a claim for money damages against the United States under the
FTCA, [the p]laintiff has the burden of proof on this issue.” (citing Ramming v. United
States, 281 F.3d 158, 161 (5th Cir. 2001))).

       2See Pride v. FEMA, 1:11‐cv‐22, 2012 WL 4051984, at *1 (S.D. Miss. Sept. 13, 2012).
(“The burden on a Rule 12(b)(1) motion is on the party asserting jurisdiction.” (citing
Ramming, 281 F.3d at 161)); see also Corley v. United States, No. 5:08cv177, 2008 WL
5412422, at *2 (S.D. Miss. Dec. 23, 2008) (“Plaintiff, as the party asserting jurisdiction,
bears the burden of proof for a motion to dismiss under Rule 12(b)(1).” (citing Ramming
v. United States, 281 F.3d 158, 161 (5th Cir. 2001))).

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                                 Respectfully submitted,

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                                   /s/ Jennifer   Case
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                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

with the Clerk of the Court using the Electronic Case Filing system (ECF). I

certify that a true copy of the foregoing has been mailed via United States

Mail, postage prepaid, to the pro se plaintiff as follows:

      Pro Se Plaintiff
      Oscar Stilley
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      FCC Yazoo City Camp
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      Yazoo City, MS 39194

Dated: April 6, 2020

                                       /s/ Jennifer   Case
                                     JENNIFER CASE
                                     Assistant United States Attorney




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